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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TExas
TYLER DIVISION

ONITED STATES OF AMERICA
DOCKET NO. 6:21mj29
~vs-

Tyler, Texas
1:35 ~ 4:47 p.m,
January 22, 2021

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RYAN TAYLOR NICHOLS

TRANSCRIPT OF IDENTITY HEARING, PRELIMINARY HEARING, AND

DETENTION HEARING
BEFORE THE HONORABLE K, NICOLE MITCHELL,
UNITED STATES MAGISTRATE JUDGE

ARPEARANCES

FOR THE GOVERNMENT:

MR. RYAN LOCKER
ASSISTANT U.S. ATTORNEY

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FOR THE DEFENDANT:

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Tyler, Texas 75702
shea_sloan@txed.uscourts. gov

Proceedings taken by Machine Stenotype; transcript was
Produced by computer-aided transcription.

 
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GOVERNMENT'S

DEFENDANT'S

EXHIBIT INDEX

DESCRIPTION

Video Clip
Video Clip
Photo Image
Video File
Video File
Photo Image
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Photo Image

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Copy of DD-214

ADMITTED

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PROCEE VINGS
THE COURT: Good afternoon, Please be Seated,
Ms. Hardwick, if You will call the case, please,
THE CLERK: Yes, Your Honor,
The Court calls Criminal Action 6:21mj29, United

State

a
Oo

f America vs. Ryan Taylor Nichols,
THE COURT: Announcements?
MR. LOCKER: Ryan Locker on behalf of the
Government, Your Honor. Ready to proceed,

MR. FILES: Buck Files and J. Brett Harrison on
behalf of mr, Nichols. We are ready, Your Honor.

THE COURT: All right. Mr. Nichols, we are here
today for an identity hearing, a preliminary hearing, and a
detention hearing. The Teason we are having the hearing --
there are three reasons.

One, I want to determine whether you are the same
person named in the complaint.

Two, I want to determine whether there is probable
cause to believe that an offense has been committed and that
you are the person who committed it,

And, three, I want to determine whether you will be
released on bond or detained pending the trial.

All right. Mr. Locker, does the Government have
any witnesses?

MR. LOCKER: Yes, Your Honor.

 
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THE COURT: How many?

MR. LOCKER: Yes, Your Honor. I have one witness
to present. In addition to that witness, my understanding
from conversations prior to this hearing with Mr. Files is
they are waiving identity and stipulating that this is the
Same Ryan Nichols that is charged in the complaint.

THE COURT: Is that correct, Mr. Files?

MR. FILES: Your Honor, we have had the opportunity
to review a lot of video in the matter and also other
material, and there is no issue as to identity. So we do not
raise an issue as to identity.

THE COURT: All right.

All right. Mr. Locker, you may call your first
witness.

MR. LOCKER: Thank you, Your Honor. Government
calls Greg Harry.

THE CLERK: Please raise your right hand.

(Witness sworn.)

GREGORY HARRY, GOVERNMENT'S WITNESS, SWORN
DIRECT EXAMINATION

BY MR. LOCKER:

0. Can you state your name for the record, please?

A. My name is Gregory Harry.

Q:. How are you employed?

A. I am currently employed by the Tyler Police Department

 
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as a@ detective. I am aiso assigned to the FBI office here ig
Tyler as a task force officer.

Q. All right. How long have you been a peace officer?

A. I have been a peace officer since I was hired with the
Tyler Police Department in August of 2010.

0. And how long have you worked with the FBI as a TFO?

A. IT have been assigned to the FBI office since roughly the

later part of 2015.

0.» Can you tell the Court your involvement, how you became
involved in the investigation of conduct by Ryan Taylor
Nichols and Alex Kirk Harkrider?

A. As part of my duties at the FBI, as I mentioned a task
force officer, I am currently assigned to the joint terrorism
task force. In response to the events that happened on
January 6th of 2021 in the United States Capitol, the FBI
obviously took the lead in that investigation as to -- many
offices were conducted there.

But the FBI office here in Tyler received leads
from our Washington Field Office to follow up on tips that
they received as far as people who were involved in
that -- the incidents at the Capitol on January 6th.

Q. Are you aware of an affidavit that has been filed in the
District of Columbia related to these events?
A. Yes, sir, I am.

Q. And did you contribute to its authorship?

 
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A. Yes, sir, I did.

Ou And did you provide a large substance of the
investigation that led to its signing by a judge in the
District of Columbia?

A. That's correct, I did.

Q. Now, the dates that this was signed was subsequent to
your involvement in some other warrants; that there may have
been some additional details that were added after you last
worked on this affidavit. But, nonetheless, you are familiar
with the contents of this affidavit. Is that correct?

A. Yes, I am.

Q. Having spent a significant amount of time investigating
both Mr. Nichols and Mr. Harkrider and their conduct
preceding January 6th, on January 6th, and subsequent to
that, have you had the chance to review information,
including text messages and videos, other information posted
on social media, that were provided by others for the purpose

of alerting law enforcement to the conduct of certain

individuals?
A. That's correct, I have.
Q. And can you sort of give the Court some context as to

how the FBI has been processing such a large volume of cases
and leads that have been provided, given that there were
thousands upon thousands of people at the U.S. Capitol on

January 6th -- and, obviously, the FBI does not have cases on

 
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all of them -- how did the #3; come to investigate certain
individuals versus others?

A. We have a fairly extensive triage process, obviously

voluminous data. As the tips come in, we try to parse --

well, they try to parse the information that comes in the

KID.

For instance, in this instance, we were alerted to
Mr. Harkrider and Mr. Nichols. The information that was
received in almost all of those tips was the location of
Pretty much where their Facebook said that they currently
lived, i.e, Ryan Nichols residing in Longview, Texas; Alex
Harkrider residing in Converse or Carthage, Texas.

Then our field office -- or, I'm sorry, WFO, our
Washington Field Office, takes that information, tries to
parse from it what they can, and then they push those leads
out to the respective office where they think the
investigation needs to take place. tn this case, Longview
and Carthage both being in the Dallas Division in the Tyler
resident agency, they came to our office and were
Subsequently assigned to me.

Qe So once you received this lead from the Washington Field
Office, what steps did you take to investigate that lead?

A, So there were several leads. Obviously, the first thing
that most of the leads called attention to was, again, their

Facebook, They gave us several Facebook pages.

 
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One was facebook.com/theryannichols, and the other
one was facebook.com/alex.harkrider, I believe. So we went
to those pages, and see if we can identify these subjects.
When confirmed that they are, in fact, in our area of
responsibility and, if they are, then take logical steps from
that point forward to see what we can determine, if there is
any evidence out there.

In this case, we did and were able to compare the
images that we saw on Facebook and that was associated with
their Facebook pages, other details including where they work
and produce where they work, and compare that, marry that
with the information we were able to uncover about the

subjects here.

So we do research on Ryan Nichols residing in
Longview, Texas. That search reveals the Defendant. What do
we know about that Defendant? He works at this place. Okay.
That's what it says there. We obviously compare the driver's
license image, as well as the images that are present on the
Facebook page. Do those people match up? And, in this case,
obviously, they did.

And let me pause here for a second there. Although
the Defendant has stipulated to his identity for this
hearing, did determining his identity from state
identification and from social media play a role in your

ability to analyze additional evidence that was provided to

 
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you?
A. Yes.
Q. And can you elaborate as to -- why was that important,

why was it so important for you to become very familiar with
these Defendants' faces in order to analyze the large volume
of evidence that was presented to you?

A. It was helpful -- I mean, their clothing, the things
they wore, they commonly wore on their faces, appear in a lot
of video. The only really good way to distinguish them from
other people present in the videos is because -- there are a
lot of people that were present during the incident.

Os What is doxing, and how did it play a role in the
discovery of evidence in this case?

A. So doxing, kind of simply, is basically where people
take steps to out or publicly -- or publicly kind of -- I
don't know if "shame" is the right word, but they want to
call attention to a subject that they usually have a problem
with.

In this case, a lot of the people who ~- well, some
of the people who provided information to the FBI obviously
had a lot of problems with the actions that were taking
place, I believe. And, as a part of that, they do whatever
research they can do, and then try to -- let's say
somebody -- let's say that they work -- they show that they

work at the Subway in Tyler, Texas, on their Facebook, as an

 
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example.

What people will do is they will repeatedly email,
call the owners of that Subway in Tyler, Texas, and say, hey,
you have this person who works with you. They are a racist,
as an example. They are a, you know, a terrorist, as an
example. They hate this or that. And they try to have some
adverse reaction happen to thal person based on the
information, the doxing.

0: And, just to be clear, that level of doxing played no --
no influence on your investigation of Mr. Nichols or

Mr. Harkrider; it was more of the gorilla journalism style
video capturing and publishing that was relevant here. Can

you describe that for the Court?

A. Correct. So, again, what people were doing trying to
identify -- to really help us in the end, people who were
present at the Washington -- or excuse me, at the Capitol.

So you really had, as you pointed out, a ton of people who
are doing investigative work for us.

People -~ obviously, I didn't know -- I don't know
the Defendants prior to this incident, but there are people
who do. And they did that background research and say, hey,
I know these people. And they push it to the FBI in hopes of
aiding our investigation to both identify them and
investigate them. And we used a lot of the information that

we received.

 
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Q. And the information that you did not use in furtherance
of this investigation you determined to be not credible? I
guess what I am asking is, you didn't just take everything at
face value as truthful; you sought to corroborate that

information and only use it if it was corroborated. Is that

correct?
A. Correct.
Q. So once you had viewed the Defendants' conduct, what

steps were taken to move forward the investigation and the
prosecution of the case?
A. So one of the first things we did was -- as I mentioned
before, we went to their Facebook pages because that is where
we were directed at first. We noticed that those pages
appeared to be sanitized. And what I mean by that is, that
the images that were purported to us that there are pictures
and video of the subjects engaging in criminal activity at
the U.S. Capitol, we did not see those, which either meant
that they were deleted or were hidden from us because we are
not friends, privacy setting, or something else was going on.
However, just doing open source searching through
Facebook, typing in the Defendants' names through Google
search bars, on Twitter, revealed a ton of information of
people who had captured images, screenshots, if you will, of
the Defendants' social media pages as those things were

posted live.

 
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In some instances you have screen capture that
shows the date and time and whose Facebook page, et cetera.
In other instances they just simply saved the image and
tagged the Defendants in it. And in a lot of cases tagged
@FBI on Twitter. That should, in theory, link to the FBI's
Twitter page and provide that information to us.

Qu I would like to go to the different charges that

Mr. Nichols is charged in -- charged with in the complaint,
in order that we might have a background and a backdrop of
the elements that we are required to show here during this
hearing.

So Count 1 of the complaint alleges that the
Defendant on or about January 6th of this year, committed a
violation of Title 18, United States Code, Section 1752 (a)
and 1752(b) (1) (A), that being conspiracy and unlawful entry
into the Capitol -- or on Capitol Grounds with a dangerous
weapon.

And, Investigator Harry, was the U.S. Capitol
restricted grounds at the time that the conduct that you
viewed involving Mr. Nichols occurred?

A Yes +

Q, And also Mr. Harkrider?

A Yes, that's correct.

QO. And was there a lawful function of the United States

Government ongoing inside the Capitol at the time of these

 
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iL events?

2 A. That's correct.

3 Q. What was that event?

4 A. The -- they were doing the certification of the election
5 results for President and Vice President of the United

6 States.

7 Oi. And had the building -- access to the building been

8 restricted for that purpose?

9 A. Yes, that's my understanding.
10 on And then Count 2 charges the Defendant with a violation

i1 of Title 40, United States Code, Section 5104(e) (2) and

12 (e) (4) -- (2) {(D) and (G), that being violent entry and

13 disorderly conduct on Capitol Grounds.

14 And that specifically charges that the Defendant
15 willfully and knowingly uttered a loud, threatening, or

16 abusive language or engaged in disorderly or disruptive

17 conduct at any place on any of the grounds or in any of the
18 Capitol buildings, with the intent to impede, disrupt, or

19 disturb the orderly conduct of a session of Congress.

20 Was Congress in session at that time?
7 A. Yes, sir, it was.
22 Ox Did the activities of the Defendants contribute to the

23 disturbance of orderly conduct of that session?
24 A. Yes, sir. The information that I had was that they had

25 to actually suspend their session and evacuate the

 

 

 
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1 building.

2 Q. Count 3 charges the Defendant with a violation of

3 Title 18, United States Code, Section 231(a) (3), that being
4 Civil disorder. That requires that -- or that is a violation

5 of a person who attempts to obstruct, impede, or interfere

6 with a law enforcement officer carrying out his or her

q official duties incident and during a civil disorder, and the

8 civil disorder in any way either adversely affects commerce

9 or the performance of a federally protected function.

10 So let's go to that first element. So did

11 Mr. Nichols impede or interfere with law enforcement officers

12 carrying out their official duties?

13 A. Yes.

14 Q. And we are going to provide additional evidence of that;

15 is that correct?

16 A. That's correct.

7 Q. And those officers, were they Capitol Police Officers,

18 and were they discharging their official duties of protecting

19 the Capitol?
20 A. Yes.

D4, O. And was there an ongoing civil disorder?

22 A. Yes.

23 O. And regardless of whether or not it affected commerce,

24 it did affect the performance of a federally protected

25 function; is that correct?

 

 

 
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A. That's my understanding.
Q. That was the session of Congress that was affected?
A. Correct, to certify the election results.
Q. Count 4 charged the Defendant with violation of Title

18, United States Code, Section lll(a) and (b), that being
assault on a federal officer using a deadly or dangerous
weapon.

And it is a violation for someone who forcibly
assaults, resists, opposes, impedes, intimidates, or
interferes with any person designated in the federal codes
while engaged in or on account of the performance of their
official duties.

And so similar to above, the individuals that we
are going to see Mr. Nichols engaged with, they were in
performance of their official duties protecting the Capitol;

is that correct?

A. That's correct.
Q. And that is enhanced on account of the use of a deadly
or dangerous weapon. Is OC spray, what is commonly known as

oc spray, is that a dangerous weapon?

A. Correct, it is.

@. And then Count 5 charges aiding and abetting, that being
whoever aids, abets, counsels, commands, induces, or procures

the commission of a federal offense is punishable as a

principal.

 
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And so when we talk about some of this conduct, it
is not only Mr. Nichols' own conduct, but his aid of others,
including his co-Defendant in this case Mr. Harkrider; is
that correct?

A. That's correct.

Q. So once you were aware of the conduct that appeared to
be observed by Mr. Nichols and Mr. Harkrider together at the
Capitol Grounds, what other types of steps did you take
besides looking at public social media to further investigate
the case?

A. We tried to interview anybody that we could. In the
matter of time, I also prepared a search warrant for their

residences.

Q. And that search warrant was signed by a judge here in
the Eastern District of Texas on Friday of last week, a week
ago today. Is that correct?

A. That's correct.

Q. And then the complaint for their arrest was signed that
Sunday, and then you executed both the search warrant and the
arrest warrant on Monday morning; is that correct?

A. That's correct.

Ow And were search warrants executed simultaneously at both
Mr. Nichols! and Harkrider's homes?

A. As near as they could be, yes, sir.

Ou Was Mr. Harkrider present at his home?

 
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A. He was.
Q. Was he taken into custody without incident?
A. He was.
Q. Was Mr. Nichols present in his home?
A. No, ne was not.
0. Did you learn where he was at the time?
A. Yes, sir, we did.
Q. Where did you learn that he was?
A. The information that he gave me over the phone was that
he was in Ada, Oklahoma, or had been in Ada, Oklahoma.
Q. And were you able to reach him by telephone?
A. I was.
Q. And did you tell him that you had an arrest warrant and

you would like for him to turn himself in based on the arrest
warrant?

A. T did.

0. Did he comply with that?

A. He did.

Q- Did you seize evidence from the homes of Mr. Nichols and

Mr. Harkrider that is relevant to the Court's consideration

today?
A. Yes, six, we did.
Q. Can you tell the Court ~~ I want to go through some of

this chronologically now in terms of how the evidence

presented itself in terms of when the evidence was created.

 
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19
1 So, eventually, did you receive consent from
2 Mr. Harkrider to seize and search his phone?
3 A. We were able to seize his phone from the search warrant.

4 We did receive his consent to search that device pursuant to
5 his arrest.
6 Q. And based on the search of that phone pursuant to
} consent, did you discover communications between Mr. Nichols
8 and Mr. Harkrider that preceded January 6th that is relevant
9 to the consideration here?

10 A. That's correct, we did.

11 Q. So let's start by walking through some text messages

12 that occurred starting on December 31st of last year.

13 Was there a relevant message sent from Mr. Nichols

14 to Mr. Harkrider on that date?

15 A. Yes, sir, there was.

16 QO. Could you describe it to the Court, please?

17 A. Mr. Nichols sent a picture of body armor: with a price t
18 his. cosDefendant, Mri ‘Harkriderp,owbth @ mention that “dt

19 protects against 5.56 and-7.62 rounds. “Those are. bullets,

20 Q. And 5.56 and 7.62 rounds, are those the two most common
21 rounds used by law enforcement and military? For rifles, not
ae for handguns?

23 A. I would agree with that.

24 Q. At least in America?

25 A. I would agree with that.

 

 

 
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Q. And then on the next day, on January Ist, New Year's
Day, was there a text message from Mr. Nichols -- or a series
of three text messages from Mr. Nichols that are relevant to
our consideration here?

A. Yes, that's correct.

O. Can you describe the first one for the Court?

As Ene. CAPS mh CAS we RAVE tnat 18 rece val 5 SHY u
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going GeG. rst aid kKLiES and Lourniquers

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person. An yen Lt ntinues: Everyoning “ay. ! 1st
neéd a game plan, laugh our Hap

The Pe ee ay fi iS t % EGS Kee3 i Ts LOL
What’ TP am about to relay eantt be done over Che poone.

Q. And then the next day, on January 2nd of 2021, did

Mr. Nichols engage in a conversation with co-Defendant
Harkridér related to tne use sf psychodelic drugs
A. Yeas

Q. Can you describe that for the Court, please?

A. The exchange, and I want to be clear about this for the

Court, it is not message for message. We are kind of pulling

what is related here.

So Mr. Nichols says: Bro, watch Soul. OMEG.

Which stands for Oh My ..-.- God.

Harkrider responds: I think I saw something about

 

 
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16 conti.

 

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Nicnois responds: ros, Seo QO L BVO AW.

The next ssage, Harkrider’s response: wal
LE a go.

No Ah ba Prhan -annae. Ye yin te vy oy .

WROROLS Chen “Senas : LOU oO WOT. T Een gi i ee

have n Ketamine, mushrooms, and DMT is

rmed none LHaAL MOVie, ana they made. 1 TOPS Kass. Pus
as much of lilt show as. I hay x 3

lo you Know Ketamine, mushrooms, and to be
3 L irugs

 

 

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3 ELEC»

 

they are not over the counte:

The next day, on January 3rd, does this conversation

nue between Mr. N

Lt related to their trip

18 drugs, or appears to?

ug A.
20 Q.

21 A,

23 for £

23

24

29

 

 

Yes, it does.

Can you describe

Ae Naish a ee ety
Me. Nicnois senas
Fe gaye dk ee py
Be a Le

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ichols and Mr. Harkrider -- continue

to D.C. and also involving the use of

that conversation to the Court?

 

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3 ext tha Says. ee LY Gotu goourLes
¥ cad tea ad + ay yoccp ot
f Web AGS CaS a Be 3 ViSLA Fick ve
=f ~ + * ra
YOU Have Teques ted  -peror put

 
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1 gov.
2 Hark: responds and he sends a ; ta a
3 qi io information Lille, Kind ob. one of tase Lningae tanec
4 moves; and it says *<-cin- tne says: ke acid and
5 soe -reabiby. -And Kind of ot ina waving: sound.
6 He then Sends a -- ‘nm sorry, Harkrid end
7 anobher Message: Could it be?! Aa, 1a
8 Nichois 1 IAS ¢ bad ther stuff we have
) tyoFALR ABOU before we leave.
10 I'm sorry, do you want me to keep -~
Ti Qs Yes. Please.
12 A. I'm sorry.
13 on At this point the conversation turns away from drug
14 usage and more to general preparation; is that correct?
LS A. Correct.
16 Ove So continue.
cae | A. SooMr oo Nichols St tt uff we have to
18 talk about before we leave. The Line in the sand. Dad and 7
LY are Building a gun container in the tru k todays Sust.cknow
20 that I have intel that Washington Wil We Ao war wore ooo Big
2 ibility that actual battle goes down.
22 Harkrider's response: I am looking forward to Lt
23 MeeoNtohols: PoRNGWOROW Lo gel Jons Legally neo
24 Digwesvew yf Tt’ ie called” transporting.
25 He puts quotations around transporting.

 

 

 
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$x bri Nee be Bae Aa si > 7 ey te
Harkricer'’s response: WELL pring

 

LowiLicbring every Freedom plaster that 2. own,

Will bring every freedom blaster [I own then.

   

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+ > vet ee x
stopping in Kentucky o! he way for tt < rarriers,

 

Looy right?

O. From context, what does he mean by 10-round mags for an
AR?

A. So, I guess, did an open source search -- or researched

 

the District of Columbia, my understanding is that t! JAS
a Pawean the books that Limits the magazine capacity: for.D.c.

 

as 10° rou
Qs And AR, is that AR-15 or what's -- that's a civilian
version of a military assault weapon, correct?

A, That's my understanding.

Q. So, in addition to these text messages that you viewed
from Mr. Harkrider's phone, are we aware of other media that
provides context as to what Mr. Nichols and Mr. Harkrider did
preceding the events of January 6th?

A. Yes.

 
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Qn And so we have already talked about the text message
about body armor. And whether or not that happened or not,
at least it was discussed. that. they. intended to pick up bedy
armor en route £6 DCs 28 thet correcr7?
A. That's correct.
Q. And then the night before January 6th, that being the
evening of January 5th, have we recovered some videos where
the videos have been provided to us either from the Defense
or from doxers, members of the public who provided this via
the Internet, that depicts the Defendant, and Mr. Harkrider
at least in one of them, the night before the 6th; is that
correct?
A. That's correct.

MR. LOCKER: At this time, Your Honor, I would like
to display video for the Court.

THE COURT: Are you offering it as an exhibit?

MR. LOCKER: I am, Your Honor. And I will submit
all of these in digital format after we are over. These have

been provided to the Defendants via our online discovery

portal.

THE COURT: SG would this be Government's Exhibit
Nov 1?

MR. LOCKER: Government's Exhibit No. l,

Your Honor.

THE COURT: Mr. Files, do you have any objection te

 
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that video?

MR. FILES: No objection to that video for this
hearing only.

THE COURT: All right. Tt will be admitted.

Proceed, Mr. Locker.

(Video played. }

(Video paused.)
BY MR. LOCKER:
OQ. I'm going to pause it here.

Thvestigator Harry, can you cescripe for the Court
what we see mounted to Mr. Nichols’ chest?
A. It appears to me to be a GoPro camera on a chest
mount.
Q. And that's one of these action cameras that is rugged

and can be doused in water and that sort of thing, used in
extreme sports, that sort of thing?

A. That's correct.

Q. Were they a common feature of the events of January 5th
and 6th in Washington, D.C.?

A. GoPros, as well as other media recording types. As you
see in the video, there are cameras everywhere.

QO» In fact, in the video we are going to watch in a moment,
hundreds of people have them?

A. Indeed.

Q. And it is, in fact, those people posting those videos

 
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1 online that provided a lot of the information that the FBI
2 has used to analyze the situation; is that correct?

5 A. That's correct.

ims

MR. LOCKER: And so I would like to show one more
5 video from January 5th, Your Honor. And this was provided to

mé by Mr. Files today.

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MR. FILES: If it please the Court, may I put this
8 in context?
g THE COURT: You may.
10 MR. FILES: We came upon these videos; and in
17 reviewing them, it appeared that we would be required under
12 the Texas Disciplinary Rules of Professional Conduct to turn
13 them over to the Government. It is not something we would
14 normally have done in any other case. But in the scope of
15 the investigation and what the Government was seeking and in
16 the context of the case that is before the Court, it appeared
Ly that we had no duty other than to turn them over.
18 THE COURT: Do you have any objection to their
19 admissibility for this hearing, Mr. Files?

20 MR. FILES: I would love to have an objection, but

21 I don't.

22 THE COURT: Okay. Wé will identify this as
23 Government's Exhibit Ne.
24 MR. LOCKER: Yes, Your Honor.

25 THE COURT: It is admitted.

 

 

 
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BY MR. LOCKER:
O.. Before I display that, to put this in context, in the
last video that we saw, that GoPro that was mounted to the
Defendant's chest, was it -- did it have a red blinking light
on it?
A. It did.
0. What does that indicate to you?
A. That it is recording.
0; Are you familiar with these devices enough to know that
they have an indicator so that the user can tell whether or
not it is operating specifically in record mode?
A. That's correct, and that is its purpose.
Q. And that is the red blinking light?
A. Yes.

(Video played.)

(Video stopped.)

BY MR. LOCKER:

Os So, Investiqator, we displayed that one because 1t shows
MrioNichol he night Y e appea to be wearing the
samé clothing that he is wearing in the prior video that is
provided from other sources where he appears to be yelling at
law enforcement. Is that correct?

A. That's correct.

om So he is wearing the same clothes, and that video

features Mr. Harkrider as well; is that right?

 
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se 1:21-cr-00117-TFH Document 57-6 Filed 11/09/21 Page 28 of 61

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A. That's correct.
QO: Mr. Files provided four files to us; is that correct?
A. That's my understanding, yes, sir.
Q. Did any of the files that we see overlap with times that

we reasonably deduce Mr. Nichols! GoPro camera to be
recording because he appears on other people's footage with a
red blinking light on his chest?
A. The videos that we received did not appear to depict
what we should have peen seeing if those were GoPro videos.
It was understanding that they were GoPro videos that were
provided to us. Then, if that is the case, then the video
from that -- what we saw them yelling, that should have been
there, and it was not.
0. So we still have not seen, other than the four files
provided to us by the Defense, We don't know where those
files are, whether or not they have been destroyed or deleted
or for other purposes?

MR. FILES: May f have the witness on voir dire for
the purpose of 4 possible objection?

THE COURT: You may. Proceed, Mr. Files.

MR. FILES: May t come to the podium?

THE COURT: Yes, proceed.

VOIR DIRE EXAMINATION

BY MR. FILES:

0. Detective Harry, if I understood your answer correctly,

 

 
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the device, the recording device, the visual audio recording
device has a red light on it that shows that it is working?
A. Yes, sir.

Q. Correct?

A. Recording.

Q. Recording?
A. Yes, sir.
0. And on the video that was just played, you had seen the

red light; is that correct?

A. Yes, sir.

Q. Now, on the videos that you are looking at of our client
at the Capitol, and you talked about the video there, the

other video is not his, the other videos?

A. Okay.

QO. Could you tell from the camera whether it was
recording?

A. I'm sorry. You are saying From the next day when he is

at the Capitol?

Q. On January 6th, could you tell whether the camera that
was being used -- that he had around his neck -- excuse me ~~
the camera that he had around his neck, could you see a red
light on that?

A. I don't believe he was wearing the GoPro camera on

January 6th.

Q. So there is no reason to believe that he has hidden,

 
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Secreted, or done something with videos that he would have
taken on January 6th?

A. I have no reason to believe he has any videos from
January 6th at this point,

THE COURT: tet me -- I have some Clarification.
Are we talking about the first video, Government's Exhibit
No. 1, taken from someone else and in that video was the red
light blinking on mr. Nichols' camera -~

THE WITNESS: And that's on January 5th, yes,
ma'am.

MR. FILES: We agree with that.

THE COURT: Okay.

MR. FILES: [t appeared from Counsel's question
that he was Suggesting that there were other pictures that
Mr. Nichols would have had that were hidden, secreted, done
away with, and not furnished to the Government as we were
required to on the first part. But we clarified that there
was no such indication from the witness's earlier
testimony.

THE COURT: tf believe the point the Government is
making is that they do not have a copy of that video. We see
the video from the vantage of someone else. We don't see the
video from Mr. Nichols, but it appears that the video camera
Was recording.

MR. FILES: Your Honor --

 

 
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THE COURT: Are you saying that is not consistent

with the testimony I have heard?

MR.
had no reason
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dates, right?
talking about

MR.

not recording.

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MR.
objection.
THE
MR.
THE
proceed.

MR.

BY MR. LOCKER:

FILES: No, Your Honor. He just said that he
to believe it was recording on January 6th.
COURT: Y'all are talking about different

I am just trying to clarify so we are all
the same thing.

FILES: January Sth, recording; January 6th,

COURT: Okay.

FILES: With that clarification, we have no

COURT: Thank you, Mr. Files.
FILES: Yes, Your Honor.

COURT: All right. Mr. Locker, you may

LOCKER: Thank you, Your Honor.

DIRECT EXAMINATION CONTINUED

Q. In addition to the two videos we just saw, Wwe have an

image of the Defendants, what appears to be taken at their

hotel prior &

o them traveling to Capitol Grounds?

A. we believe -- I believe it to be an image taken prior to

them going, yes.

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become significant because ie ates. on

 
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MR. LOCKER: At this time I'd like to display
Government's Exhibit No. 3. as an image, Your Honor.

THE COURT: Any objection, Mr. Files?

MR. FILES: May I have the witness again on voir
dire?

THE COURT: You may.

VOIR DIRE EXAMINATION

BY MR. FILES:
Ou In fairness, I think you have already answered my
question on what you just said. You don't know when the

video was taken, so you don't know whether it was before the

6th or after the 6th?

A. What video are you referring to?
Q. What the Government is just proffering.
A. The video that we were talking about before where the

video is blinking on his chest, the camera is blinking on his

chest --

Q. No. He just asked you about a video that he wants to
offer. And the question was, was it taken -~- was it made

before -- at the hotel before the 6th before he would have

been at the Capitol, or was it made at a later time?
And the question is, do you know whether it was

made before Mr. Nichols went to the Capitol or after he went

 
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to the Capitol?
A. That's correct, no, I do not know.
Os You do not know then. Thank you.

MR. FILES: Then I have no objection.

MR. LOCKER: Just to clarify, we are talking about
a still image here, not a video?

THE WITNESS: Still image, correct.

THE COURT: No objection to Government's Exhibit
No. 3. it is admitted.

MR. FILES: And, Your Honor, I said "video,"
meaning still.

DIRECT EXAMINATION CONTINUED

BY MR. LOCKER:

Ox So, in fairness, we don't know exactly when this was
taken, but we do know we'see ehese Defendants wearing this
game attire on Capitol Grounds?

A. Correct.

0. On January 6th?

A. Correct.
Q. From where was this image recovered?
A My recollection of this image, I want to say this one

was one of the ones that was provided to us that we recovered
from an NGR file. Everything that we have is from social
media; Facebook, YouTube, Instagram, Twitter, to my

knowledge. I believe this was recovered by someone else from

 
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his Facebook.
As When we say "his," we mean Mr. Nichols’ Facebook?
A. His, is my understanding, I believe,

MR. LOCKER: Now, having contextualized in helping
us identify the Defendants from these images, I would like to
offer and admit and display Government's Exhibit No. 4, which
is -- this is a lengthy video; it is by far the most lengthy
exhibit Your Honor has -- I would like to play approximately
24 minutes of a video from outside the Capitol.

THE COURT: Any objection, Mr. Files?

MR. FILES: For a detention hearing, we have no
valid objection we could make.

THE COURT: All right. It will be admitted.

You may proceed, Mr. Locker.

MR. LOCKER: Your Honor, I intend to admit and
provide the entirety of the file to the Court and admit it
for these purposes; however, for display purposes, I'm going
to begin at approximately the 59-minute mark.

THE COURT: Thank you.

MR. FILES: We have been provided with that,

Your Honor, and have had a chance to review it.

THE COURT: Thank you.

(Video played.)

(Video paused.)

BY MR, LOCKER:

 
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3 A. Mri Harkrider and Mr. Nichols
4 (Video played.)

5 (Video paused.)

6 BY MR. LOCKER:

6 ha pe welt at oae mt an sol tanatipeses ae velar rae aha ties wea scnycigne ant ge patna
q Qu Myre Harkreiaer Ss HLue.and gray hat is quite apparent,
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10 hidden:-~ Of Mos Toy hidden by ©he flag we are See. ng mere; 29

1 that correct:

13 obstructed by the flag mostiy, in this stillethakt: youenave it

14 stopped at rignt now.

5 (Video played.)

16 (Video paused.)
17 BY MR. LOCKER:

18 Q. What did we see in Mr. Harkrider's right hand?

9 A. The bullhorn.

20 Oia I'm sorry. Let me replay that. I believe that was the
21 oc canister.
22 (Video replayed.)

23 (Video paused.)

+

 

24 A. t'm sorry. Yes. You said Mr. Harkrider. « Was Looking

20 at Mr. Nichols. Yes, the OC canister.

 

 

 

 
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(Video played.)
(Video paused.)

BY MR. LOCKER:

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~ Bey ’ :

(Video played.)
(Video paused,)

BY MR. LOCKER:

Q . t LS ? N t eo cly
B Yes, sir

> Py b ¥’ ¥ i ¥ t
A That’ s rrect

(Video played.)
(Video paused.)

BY MR. LOCKER:

‘Be ToL Mi a
lso making a t at-slas
n Ce ‘ we Jege
i Ay ft fee te ah ek

(Video played.)
(Video paused.)
BY MR. LOCKER:

Oven Wechave Seen mr:

the Capitol at EWES -y t?
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out. oWe have another video that it shows him completely
emerging from that window.
(Video played.)
(Video paused.)
BY MR. LOCKER:
Q And. it appea ie : ping M rrkride 4 ¢

(Video played.)

(Video stopped.)
BY MR. LOCKER:
O.« Durina the time that .Mr. Nichols is in possession of
that bullhorn, at least from context and listening to what
you can -- the video covers while it is still on him with the

bullhorn and listening to this over and over again, have

been ab identiLy rha t t i : ay

Mre Nichols yelled to the crowd tr 1 the bullhorn?

A. Correct.. There is at least two videos of =~ that
capture him on the bullhorn. We have put together what. we
think --.we believe him to be saying.

MR. FILES: May I have the witness on voir dire for
the purposes of possible objections?
THE COURT: You may.

VOIR DIRE EXAMINATION

BY MR. FILES:

 
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Q. If I understood the context of the question, and I may

be in error, I thought what he Was asking had to do with this
Particular video, and you are listening to this particular --
the audio on this particular video in an attempt to identify

Mr. Nichols' voice.

Could you identify his voice from this

video and the audio?

 

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iseMr.°N ; that make sense?

Oe What b-vouchearchit Say on ¢Ai ote 5

A, a you like fer me te answer?

Oy Y@S, Sir.

A. Okay. So we hear: Get in the building. Get in there
Thiseba the second re LULLON raght here, {olkeeoo TF you have
a weapon, yt 1 Lo get your wearon.

Ox Okay You car ly hear that on ‘this’ video?

AY Wwe, WE Can hear tnat a@ndtio;

   

and we. know
other video.

MR. FILES: No objection.

Okay.

THE COURT: Proceed, Mr. Locker.

 
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A DIRECT EXAMINATION CONTINUED

2 BY MR. LOCKER:

3 Q. Detective Harry, We selected this video in particular
4 because it covers images of the crowd and provides a cime

5 context for the conduct that we are Looking at; is that

6 correct?

7 A. Correct.

8 OG: Is this by any means the only video that you looked at
9 of this conduct?
10 A. It is not.

1. Q. And when taken in combination with other videos that you

 

12 have viewed from these game events, aré you avle took ty
t ‘ % + 3 pe a Ay 8G: Pe ;
13 those game Statements that you jusk tola to Mr, PLLes ang
Ten  eoms sinter iana l oo soe py roe Te se
14 also some additionas ones that are reievant tes
15 A YY gee hy sy 4 OEP owe YRS
. Lay PilS Lo View you.
Pog SS ig a aa Bee VS gee per is ogee ae ja Soak iano ‘ Bs ak eg Seay ea ae, ak a
16 Q. Okay, So let's stare with the beginning and go in
SAE Ne Bec svike PHA re + = earies oF mer, yo Pe ee TOM POL ep ee tone te sy
17 Sequener, CAUBSe ENereé 1S a stelaue Of APPLGALMAY® LY & tC

 

18 10 statements that we have peen able to identify that is

 

19 coming specifically from Mr. Nichols whiie he had t
20 bullhorn.

21 A. So he begins: Give me one

 

22 au all of the info you need. Get in the building. This is
¥ g

 

ne ey ete fea 4TT day eg Sy ove n aE ys wm md ey t.7}
23 your country. they have aiready it away, What are you

ind.

24 going to do, stand there? Get in there. This is the secon

‘

25 revolution right here, folks. We are not going to let

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1 take it away. This is noi a hes Serene ee
SO MAES T, Wheat Chey are
2 i} doing ANAY 5 ‘
a Ys ¥ ; ve Py ee y p J
3 Your Weapon,
4 he répeats that several times, the "get you
5 Weapon" part.
6 MR. LOCKER: At this point I would like to play
7 another video, 0
8 BY MR. LOCKER:
9 Q. Detechive Harry, is there a separate video from
10 approximately the same time period, but not exactly what we
dad: just saw, that specifically shows: Mr. Nichols beckoning an GC
12 cannister, receiving it from another rioter, and then
13 spraying Lt into Capitol Police?

14 A. Yes.

1.5 Q. And, although the snippet that we are going to see is

16 one narrower angle than what we just saw, taken in

17 conjunction with what we just saw, is there any doubt, first
18 of all, what it is he is using and, second of all, who he is
19 firing at?

20 A. I believe it to be OC based on the reaction of the crowd
21 and the look of the bottle. You can't -- obviously, you

22 can't definitively say, but taken in context, that is what I
23 believe it to be. You can actually see a number on the i

24 canister at one point in the video.

25 I believe it is actually a law enforcement canister

 

 

 

 
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ase 1:21-cr-00117-TFH Document 57-6 Filed 11/09/21 Page 41 of 61

4.

that they got ahold of. In the longer video here -~ in this
video from this angle, you actually see people's responses
when that can is sprayed. They are covering their faces.
You saw people rinsing their eyes out with water.

In my training and experience, that ig a reaction

 

from OC or some Sore of bear spray. type of
On Now, OC 185 &@ ~~ that is an acronym that stands for

essentially what we know as pepper spray?
A. correct.
Q. And law enforcement uses it as 4 riot control aid?

A. Correct.

Gq

Q. The catiister that we see Mr. Harkrider having held over

his head in this video we just watchea and the video we are

about to watch appears to be the same type, Same make ang

model; 1s that correct?

 

A. Th appears to pe, yes.

Q. And we can't say for certain it is the exact same
canister, but it appears to be the same make and model. 15
that correct?

A. rT am not comfortable saying it is the exact same
canister.

QO. tn the video that we are about to watch, the canister

that Mr. Nichols handles appears to have the mumber fe

written on it; is that correct?

 

 

 
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Q. Is that indicative to you of something?
A, In my mind, when I think of a Situation and how our law
enforcement would respond, I imagine there is probably an
atmory or some sort of a room with a whole bunch of these
canisters all numbered. Officer Harry, you are issued
canister 72,

In my mind, that is what I believe this to be, and
that is what I believe that number references. I don't
see -- I could be wrong. I have naver saan anything} tice

Fao de nots BA ee bi ee es oe ee c peers
that for sale on SAE KING OL Public MaALKeGC, AMAZON,

 

like that. You certainly couldn't get that from Walmart. I

don't see any reason know why that would be numbered like

that.

0; For any other reason?

A. For any other reason.

0. And, by way cf contrast, there are members of the crowd

who do have commercially available oc pepper spray and mace,
that type of spray, that they are spraying in the Situation;
is that correct?

A, Yes. Much smaller canisters with a kind of a top handle
you see. One that comes to mind is you see silver a lot, and
that is something that you see more commercially.

Qs At this time I would like to display Government's
Exhibit 5, I believe we are at right now?

THE COURT: Any objection?

 
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MR. FILES: For the detention hearing only, no
objection.

THE COURT: All right. It will be admitted.

You may show it, Mr. Locker.

(Video played.)

(Video stopped.)
BY MR. LOCKER:
0 : Now, Detective Harry, even in this video, you can see
what is called overspray or backspray in the response to that
overspray and backspray from some of the members of the crowd
that were in that stream. It appears that the canister runs
out. It goes from shooting a long stream to sort of a puff
of mist. And that affects the individuals who were around.
They start wiping their eyes. Is that accurate?
A. They are not happy.

MR. LOCKER: At this time, Your Honor, T ask the
Court to the take judicial notice of the complaint affidavit
in dts entirety.

MR. FILES: No objection, Your Honor.

THE COURT: The Court will take judicial notice of
the affidavit.
BY MR. LOCKER:
Or Detective Harry, were there social media posts thar

Mr... Nichols appears to have put up on the Internet

contemporaneous with these events?

 
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A. yes, that's correct,
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MR eo TOCKERES Ab this time, Your Honor, 1 wousd 44Ke
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to display Ene. 22 23c Or These, WOVernRe no a es

THE COURT: Any objection to Government's 6?

MR. FILES: Not for the purposes of this hearing.

THE COURT: It will be admitted.

You may show it.

BY MR. LOCKER:

QO. Detective Harry, can you describe this to the Court?

A. this is an image that was provided to us [rom 4 witness.
In my recollection, it was that she captured this image on
January 6th as she had been watching Mr. Nichols' Facebook
page during the day.

She described it to me, and what it appears to me
to be is Mr. Nichols tried to maxe a Live stream or post a
video with the caption -- as you can see Let herein bhe
middle of the screen: Are patriots calling for violence?
Why won't you hear? We have to talk.

Then the screenshot is, of course, that; and then
what I presume is a notice from Facebook saying: Sorry.
Something went wrong. There was a problem posting your
status.

What it appears is, if you look just a little bit
above that, is the caption: We have removed something that

you have posted. Which I believe is Facebook taking that

 
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OLE:

He kept the screenshot of this and then posted the
screenshot of attempting to post that image, if that makes
any sense, with the caption: Facebook won't let my truth be
spoken. Come join patriots in D.C. and fight for your
country.

MR. LOCKER: I would like to display the next post.
It will be Government's 7.

Mr. Files, any objection?

MR. FILES: Not for this hearing.

HE COURT: All right. It will be admitted.

BY MR. LOCKER:

Q. What is displayed here, Detective Harry?

A. So this again is another screen capture from that same
witness that provided this image to us. The caption there

n

from Mr. Nichois'’ Facebook page: we Witnessed death today,

 

and we are about to make them pay. ‘The only Ls t
elected officials. It is time to make them pay.

is sharing appears to be the female subject that -- I'm
sorry, I can't remember her name ~~ that was killed inside
the Capitol.

Oui What information do you nave about Mr. Nichols

possessing weapons, firearms that he may have taken to D.c.?

A. We know from the images -~ or from the videos, in

 
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with him. You can actually see him holding that at severas
poLnts- in time.

We also have text messages, that we read earlier,
that describe at least an intent to take firearms to D.C.
with him.
Oy ANAS NER Me. Nichols is charged: as..an aider and abetter

eo span Pied alla ar SR eke ord bescMA Be at ate in ; ;

alongwith Kis co-Detendant Mr, Harkrider, uo we know that
4. dl open ttle Aa Ruka segs tien S ; Pua 4 6 2

Mr. Harkrider indeea carrie a WEAPON intoowhe Capitol?

A. We do.

G. What. kind of weapon was that?
A. Tt. was a tomahawk.

Q. tn the text messages that Mr. Nichols and Mr. Harkrider
exchanged prior to their trip to Washington, what was the
reference regarding transporting firearms?

A. I'm sorry? That he knew how to get firearms into D.C.;
is that what you are referring to?

O's Yes. And also didn't they discuss construction of a
container to transport those firearms?

A. Yes. 1 think we went over this earlier. Mr. Nichols
mentioned that he and his father were building a gun
container and the truck today -- I know there was -- there
was a message: I know how to get guns legally into D.C. now.
It is called transporting.

And then the reference to the 410 round AR mags.

 
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O. Are you familiar with some laws that pertain
specifically to firearms in D.C. that require them to be in a
container separate from the passenger compartment?

A. I am not familiar with that.

Q. If that were the law, would a truck container that was
outside, such as for an open-bed truck, would providing a
locked container inside that bed satisfy that requirement if
it had to be outside of the passenger compartment of an
open-bed truck?

A. It sounds like it would. I am not familiar with that
law. I hate to speculate on Lbs

Q. Regarding the 10-round mags for ARs that were discussed
earlier, did you locate any of those inside Mr. Nichols'
house?

A. When we were in Mr. Nichols' house while searching --
for our search warrant, while I was in the garage, 1! actually
observed several 10-round AR mags, most of which were
actually still in the packaging, on the deck of the boat that

is parked in the garage. The 10-round AR mags, they are the

Magpul brand for -- specifically for the AR-15 platform.
Q. Did you find the host weapon for those magazines?
A. We did not find a weapon in the house capable of

accepting those magazines.
Q. Do you have information from other sources that

Mr. Nichols, in fact, owns a Firearm that hosts those

 
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magazines?
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tna ana Ryar that he. k che am AR. HH
didn't want to say that wed it May h sven borrowed
aes {a Was not ee bie aying. the i ey rat

 

He did mention that they had fired AR -- an AR -~
or that Ryan, excuse me, had fired an AR-15~style weapon on

or about Christmastime of this year, Christmas 2020.

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The. context of oMry Nichole -rexton

 

Mr. .Harkrider indicates that he had

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take a “lo, OR EneLY trip «, 28) that-accurate?
weibas Bossy ws Eee . . gia
A. That's my conclustonp yes.

Q. And yet none of it was recovered; is that correct?

A. That's correct.

Ow And there was also discussion in those text messages
that Mr. Nichols expected to be arrested or expected some law
enforcement attention, did he not?

A. That is our conclusion, yes.

Ou Did you also find some empty pistol boxes in the house
with guns not recovered?

A. There was an empty pistol box in Mr. Nichols' closet, as
well as one inside -- one of the vehicles outside, a Nissan
Juke. I don't have that in front of me.

I believe one was a Smith & Wesson -~ excuse me,

 
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Smith & Wesson .380 -- or, excuse me, .38 special revolver
box. And the other one was for a -- it was a SIG Sauer
pistol, .380 caliber pistol. We did not recover either of

those firearms, but we did have the boxes. So those guns are

somewhere.
Qs Are you aware of other situations where Mr. Nichols
accused of acts of violence that would cause the Court. to “be

concerned should he be released?

A. Yes; Tam.

Q. Let's discuss an incident involving a low-flying plane
in April of last year. Can you tell the Court about this
incident?

A. So this first came to our attention actually during the
day of the search warrant on January 18th. While
interviewing with some of the neighbors, it was brought to
eur attention that -- at least there was a rumor or

Mr. Nichols had fired a weapon at a low-flying airplane over
their neighborhood in the neighborhood where we ran the
search warrant. This actually came to us from a couple of
sources.

We did several interviews to try to follow up on
that with what we could. Obviously, that is a fairly
significant federal crime.

Q. So, just to be clear, we don't have footage of

Mr. Nichols firing a firearm at an airplane; is that

 
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correct?

A. We do not have specific footage of that, no, that is
correct.

Q. And there is no doubt it was a low-flying airplane; the

whole neighborhood was concerned; it was disturbing; many of
them took video footage. Is that correct?

A. That is -- yes, that's correct.

Q. And at least one neighbor provided you footage of a
low-flying airplane over this neighborhood that, from casual
viewing, sounds like it has multiple gunshots in it, is that
fair, as the plane passes over Mr. Nichols' home?

A. That's correct.

Q. And that same neighbor also believed that --
corroborated by the video, believed he heard gunfire from

Mr. Nichols' backyard at that time?

A. That's what the statements to us were.

Or And did Mr. Nichols do anything else after that point
that further corroborated that belief by the neighbor?

A. During our interview of the witnesses to that incident
that captured the video, their statement to us was that after
what they understood to be shots were fired and the plane had
flown over, within a few minutes they were able to see from
their position in the front cf their residence, Mr. Nichols
come out from the front of his home to his truck, which was

parked in the part of their driveway you could clearly see,

 
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the testimony was that they observed Mr. Nichols throw an
AR-15~-style rifle into the yehicle. Seemed to be in kind of
a hurry. Went pack into the house presumably for a moment.
Came back out. Was putting clothes on.

The statement was then that they observed him throw
what they believed to be a pistol inside the truck, come out
of the driveway, and then come drive by the witness's house
and make 4 comment, you know, basically -- to the effect of:
Did you see that? Can you believe that? I am on my way to
the airport right now to see the deal was, OF to find out
what was going on.

t don't have the statement in front of me.

OQ. With apparently two weapons in hand?
A. Correct.
Qu Did the neighborhood indicate that they are scared of

Mr. Nichols on account of this incident?

A. Several of the witnesses that we interviewed were very
concerned that ~~ one, that Mr. Nichols would find out that
they had spoken to US, and they were not ~~ certainly less
than thrilled to potentially have to reveal their identities
to him because they obviously are going to continue to live
in that neighborhood.

Q. Mr. Nichols was arrested in 2018 for arrest. Are you
aware of the circumstances and facts surrounding that

incident?

 

 

 

 

 
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A. I have obtained a Longview Police Department Feport that

I believe is for that incident, yes,
Q. And, just to be Clear, your knowledge Of this incident
comes from those reports exclusively; is that correct?
A, That's correct,
@: Based on your review of those reports, can you Lelay
that incident in Summary to the Court?
A, The Longview Police Department was Called to -- ox,
rather, dispatched to -- I will get you an address ina
minute, 2835 East Cotton Street in Longview, Harrison County,
Texas, after there was a report of essentially a disturbance
fight.

Upon arrival, what the investigation revealed was

that == the ailégation was that Mr. Nichols had assaulted 4

 

   

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his py Project thay were
doing,

He became very insut that, confronted those

individuals. |The report ates that impartial
testimony is that one Of. the people tesponsibie for moving
those vehicles had apologized to Mr. Nichols. But to quote a
Part. of the report: But the man -~ in parentheses Nichols --
wouldn'telLet it Jo. Nichols then continues downstairs and

wa est-bumping the other individual. The one who

 

 
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Mr. Nichols pushed and then hit the other individual... And

   

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individual who was related -- I believe is related to the

   

ice report indicates

   

Mr. Nichols about tnat, as
that bhyoa-etaramantese mrsavided by M Re aaa Be gmt ae Waitin Wea gad Sir Sam gus Ong ese wi gaeea toy Cn a
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ted with the incident and were at a different

 

location. Tney were not consistent.

Q. The context of this incident is basically that the
landlord at Mr. Nichols' business hired a contracting crew to
resurface their parking lot, and a couple of trailers
belonging to Mr. Nichols, or associated with his business,

ey.

were in the way. They moved them as best they could. it
infuriated Mr. Nichols, and he picked a fight with the
conkractors.

A. That's correct.

Oi And someone -- and so the version of events that was
told by the contractors was that Mr. Nichols picked the
fight; is that correct?

A. Correct.

Q. And did Mr. Nichols tell that same story, or did he

 
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reverse the responsibility in that situation?

A. That's correct. He, in fact, said that he was the
victim and actually said he wanted to pursue charges.

Q. And, in fact, Mr. Nichols! wife said the same version of

events as Mr. Nichols; is that correct?

A. That's correct, according to the report.

Os But there was a neutral third party who saw it?
A. Two neutral third parties, actually.

G. And whose version did they corroborate?

A. The contractors, not Mr. Nichols and Mrs. Nichols.

Q. But due to the fact that all -- that the contractors
decided to drop the charges, they were not pursued; is that
correct?

A. My understanding -- it is tough to kind of parse out
from the report because the report doesn't actually mention
that Mr. Nichols was arrested; however, 4 review of other
records does indicate that he was arrested. But we also know
that those charges were dropped, according to records
available, to me, at least at this time.

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Q Ino fact, did: Mi i threatening post: onan
individual's Facebook page when ne confronted Mr. Nicnoss

 
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about being at the Capitol on January eth?

A. That's correct.

Os What was the name of that individual that Mr. Nichols
threatened?

A. I'm going to mess up his name. It's Aryeh Ohayon.

Q. And can you read that threatening post to the Court,
please?

A, Tt is -- my understanding is, Mr. Ohayon made a comment

 

    

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I don't have the picture that he was commenting on,

but, roughly: You spelled "terrorist" wrong.

Mr. Nawhe

 

:' response to Mr. Ohayon's comment is --
excuse me: But you won't come step up -- excuse me -- and

say -~

THE WITNESS: Can I use a curse word, Your Honor?

THE COURT: Yes.

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ie PS . oe oN oS, nf os ‘e ms ogee has bin rick
won't come step up and say snit. though,

 

 

has reason to nave concern

 

 

about Mrs Nichols! lth that would govern the

 
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Ff ras BPR ae ee aon 4 a db os re
from PTSD from multiple ssurces?
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Gy Maik git SL ONE een Ea PE LaCre pe tae Lob Your Eat

 

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Q. Do you have information that the Defendant may be a
danger to himself because of suicidal ideation?

A. Yes.

Q. How do you come by that information?

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Mr. MN

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Q. Did an interview with Defendant Harkrider's roommate
provide additional information on this topic, not on suicidal
ideation but on mental health in general?

A. Yes. The statement from Mr. Harkrider's roommate, he

referred to Mr. Nichols, in fact, as a psycho.

 

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Oy id that.same roommate dneicate t tly. Harkrider was a
iss < ee’ POL smOgen ke SY cal cae Pe aracg ony en OS

user of psychodellic: drugs?

A. He that's rrect.

 

OQ. And that was corroborated by the text message string

that we have already discussed regarding Ketamine, LSD, DMT,

 
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et cetera; is that correct?

A. Yes, sir.
a Did you find anything relevant to drug usage in the

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time that you executed Ene. searcn

 

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Yas, we did. During a search of the Défendant*s'-~ a

safe in the master bedroom closet, inside the larger sate we

 

amount of marijuana, pretty high-grade

 

$s Peace . Bi oe Bens Y per eae ee “ me He ans a
marijuana, a@ pipe -~ Oh, 1 can Cs @ pipe Lo

Just outside the safe was a at-home drug test kit
which tested for multiple controlled substances, as well as
marijuana being one of them.

Or Was this drug test kit still in its packaging unused?

A. It was. It appeared to be unseal -- it appeared to be
totally sealed.

om Are you aware of any concerns regarding travel or flight
that the Court should -- would give the Court concern
regarding non~appearance of the Defendant?

Let mé ask specifically, does the Defendant have

re the Bistrict of Columbia other than the

 

criminal conduct that we are discussing today?
A. Net that I am aware of.

Q. Were you aware that -- actually, let me back up to the

 
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marijuana issue regarding the comments from the father.

Did Mr. Nichols" father discuss his marijuana usage
with OU
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his PTSD.«...He.aleoq made. a.cemment that he: a += excuse ume,
medicad marijuana) catd: for California. cm for. the State of
CatiLfornia.
0. So based on the father's statements regarding that

medical marijuana card, it appears that Mr. Nichols travels
to California for the purpose of self-medication, et
cetera?

A. I don't know that I am comfortable saying that he

travels there for that purpose.

Q. Was he cut of state at the time that you called him for
the search warrant execution?

A. He was. At the time, the information that I have is
that he was in or near Ada, Oklahoma, where his wife's family
currently -- some members of his family currently live.

Q. Are you aware of conduct by Mr. Nichols that may
constitute obstructive conduct that would give the Court
concern whether or not Mr. Nichols would comply with the
Court's orders going forward?

A. I am.

C.. Specifically, the failure to locate certain items in his

home that you would expect to find based on statements,

 
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images, et cetera, did that give you great concern?
A. It did.
Q. What items did you not locate that you expected to
locate in his home during the execution of the search
warrant?
A. Not unlike Mr. Harkrider's home, I expected to find that

tactical vest, number one, the boonie hat, the yellow
gloves ~~ the leather gloves that were there, the crowbar,
and I also expected to find an AR-15 in there. We did not
find any of those items.

Q. Very specifically, did Mr. Nichols exchange text
messages with Mr. Harkrider instructing him to delete
evidence?

Bou He did.

Ou On January 8th, can you read for the Court a text

message that Mr. Nichols sent to Mr. Harkrider, to this

end?

A. The text message says: Delete it all, including our
text. conversation together. Also, delete them from your
phone 4s Lh

O« The next day did Mr. Nichols send a follow-up or
similarly-related text message to Mr. Harkrider?

A. That's correct, he did.

Q:. And what did that state?

A. On January 9th, Mr. Nichols sent 4 link “+ excuse me =~

 
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Watch the Video and

Does Mr. Nichols! Facebook Page appea

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5 the things that you would expect it to reflect, given all of

6 the information that you have received fro

It does not.

 

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8 Q. LC “appear that: my iOLs Has
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9 || Media. presence?

10 A. Yes,
11 on Does it appear that Mr. Nichols has c
12 appearance prior to today, prior to his ar
13 A. Yes, it does.

14 or Are you aware of communications from
LS members that would give the Court pause re

16 network should he be released?

17 A. Yes.

m third parties?

hanged his

rest?

Mr. Nichols' family

garding his support

18 Ore rn fact, did mr, Nichols! father Send ao tex message to
19 Mr. Harkrider: on va} ny That LS relevant te these

20 events?

21 A. He did.
22 Q. What did thas Text message say?
23 A. January 6th, Mr NY Shois". father Sent

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HaUkrigder, actually. And the Nessage

24 Mrs

25 labeled you all “anarchi

 

 

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disperse people off sf the Hill. Gog
MR. LOCKER: Your Honor, may I have a moment?
THE COURT: You may.
(Pause in proceedings.)
BY MR. LOCKER:
Q. Detective Harry, there is one final Facebook post that
the Defendant posted that I would like to go over with you.
MR. LOCKER: Mr. Files, I provided this to you as
well. Any objection?
MR. FILES: No. Not -- Once again, not for the
purposes of this hearing.
THE COURT: Thank you.
What is this Government's Exhibit?
MR. LOCKER: 8, I believe, Your Honor.
THE COURT: 8, yes.

BY MR. LOCKER:

0... Can you read the text?
As This is a -- what I understand to be a post from

Mr. Nichols' Facebook. He tags -- obviously; it.has got: him,
and he tags Alex Harkrider with him.

ment is: We will not bend. We will not

 

preak. We will never give in. We will never give up. We

 
